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                                           FOR THE DISTRICT OF COLORADO

                C市 l Action No.

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                              Plaintl]l                      o8ノ 18/201l o2104:34 PM 2 Page〈 s)
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                927 COLE STREET,GOLDEN,COLORADO,and
                2∞ 8 TOYOTA HIGHLANDER VIN#JTEES42A182076495;

                               Dcfcndants



                                                 NOTICE OF LIS PENDENS


                NAME OF RECORD TITLE OWNE& Marie Dalton

                       Notice is hereby giveu ofthe pendcncy ofa civil action brought by the piaintitragaimt

                the below described rcal pmperty by a verified compiaint of forfeiture fi.lcd with the Clerk ofthc

                United States Distict Court for thc Distict ofColorado, which action was hrrought for the

                forfeitwe ofthe defendad real property pursuaat to t8 U.S.C. S 98f.

                       The property which is the subject ofthis action is located at 927 Cole ShE€t, Golde!,

                Colorado, more particululy desctibed as:

                       Parcel B, Exemption Suwey Section 6, Tomship 4 South, Range 69 Wes! El 8-3-93
                       according to the Exemption Survry Recorded Jrme          d
                                                                                1993 at Reception No.
                       930796114 in Book I 13 at Pagc 26, County ofJefferson, State ofcolorado.




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                    For further information conceming the action for forfeiture, reference may be made to the

            records of the Clerk of the Court for the United States District Court, Distriot of Colorzdo, 901

            196 Stre€t, Denver, Colorado 8A294.

                    DATED this 1 16 day of Augrst, 201 1.

                                                                    Respectftrlly submitted,

                                                                    ERIC HOLDER
                                                                    AttomeyGeneral of the United States

                                                                    BARRY R. GRISSOM
                                                                    United States Attorney
                                                            .
                                                                    /s/Richard L. Hathawav
                                                                    RICHARD L. HATHAWAY #07767
                                                                    Special Attomey
                                                                    4445.E. Quincy, Suite 290
                                                                    Topeka, KS 66683-3592
                                                                    Tel: 785-295-2850
                                                                    Fax:785-295-2853
                                                                    rich.hatte wav@gsdo i. eov

                                                                    /s/Christine E. Kennev
                                                                    CHRISTINE E. KENNEY #13542
                                                                    Special Attorney
                                                                    christine-kennev@usdoi gov -




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